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                                        UNITED STATES
                   SECURITIES AND EXCHANGE COMMISSION
                                      100 F Street, N.E.
                                    Washington, D.C. 20549


 OFFICE OF THE
GENERAL COUNSEL


                                                               November 21, 2023
Patricia S. Dodszuweit
Clerk of Court
U.S. Court of Appeals for the Third Circuit
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

Via ECF

Re:   In re Coinbase, Inc., No. 23-1779

Dear Ms. Dodszuweit,

      Counsel for the Securities and Exchange Commission write to inform the

Court that the Commission will provide the Court with a status report regarding

Coinbase’s rulemaking petition by December 15, 2023.

      Coinbase filed a petition for writ of mandamus, seeking to compel the

Commission to act on Coinbase’s July 2022 rulemaking petition, which requests

that the Commission engage in discretionary rulemaking of substantial scope.

Doc. 1. After the Commission informed the Court that Commission staff

anticipated being in a position to make a recommendation to the Commission

regarding Coinbase’s rulemaking petition by October 11, 2023 (Doc. 30), the

Court declined to rule on the mandamus petition, but “retain[ed] jurisdiction” and
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ordered the Commission to “update the Court on [the] status [of the rulemaking

petition] on October 11, 2023” (Doc. 32). The Commission then informed the

Court that on October 10, 2023, Commission staff provided a recommendation to

the Commission for its consideration regarding Coinbase’s rulemaking petition.

Doc. 33. On November 20, 2023, Coinbase filed a response to the Commission’s

update. Doc. 36.

      In its November 20, 2023 filing, Coinbase asserted that mandamus was

warranted because with “a staff recommendation in hand, … the Commission can

act immediately.” Doc. 36 at 8; id. at 9 (“The Commission’s staff have now acted;

the Commission is readier than ever to do so.”). But nothing about what has

transpired here justifies the extraordinary remedy of mandamus. The staff

provided its recommendation to the Commission on the timeframe that it told the

Court it would. The Commission’s consideration of the staff’s recommendation on

Coinbase’s rulemaking petition is proceeding in accordance with the

Commission’s Rules of Practice. See 17 C.F.R. § 201.192(a) (providing for staff

recommendations to be “transmitted with the petition to the Commission for such

action as the Commission deems appropriate”). And, contrary to Coinbase’s

assertion otherwise, the five-member Commission’s deliberative process does not

end with receipt of a staff recommendation. See id. Staff frequently engage with

the Commissioners on the substance of a staff recommendation, as the



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Commissioners themselves consider its merits. That process is ongoing as to this

matter.

      To keep the Court updated regarding this ongoing process, the Commission

will provide the Court with a status report regarding Coinbase’s rulemaking

petition no later than December 15, 2023.


Sincerely,

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cc:   Counsel of record (via ECF)




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